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                  IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION

DENICE D. FABRIZIUS and                                   Cause No.: 08-114-BLG-RFC
WILLIAM FABRIZIUS,                                        Honorable Richard F. Cebull

                   Plaintiffs,
         vs.
                                                          PLAINTIFFS’ MOTION TO COMPEL
                                                          AND MEMORANDUM IN SUPPORT
KEITH R. SHULTZ, M.D.,

                   Defendants.


                                                         MOTION
         COMES NOW the Plaintiffs, Denice and Bill Fabrizius, by and

through counsel of record and hereby moves the Court’s for its order

compelling Dr. Keith Shultz to produce documents requested in discovery.

Counsel for Dr. Shultz has been contacted and does not object to the filing

of this motion, but does object to producing the records previously

requested.




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                                                     MEMORANDUM

         Plaintiffs previously propounded discovery requests on Dr. Shultz

requesting that he produce his expert’s notes made during this case and

their invoices for payments:

      REQUEST FOR PRODUCTION NO. 39: Please produce all billing
statements and/or reports including, but not limited to, all notes and
correspondence regarding the billing for everyone of your experts.

      REQUEST FOR PRODUCTION NO. 22: Please produce all
handwritten notes in the experts file whether made on paper or computer in
addition to all marked up or written on documents/medical records that
have been provided by counsel to their experts.


         Counsel for the respective parties have discussed this issue on

several different occasions, have exchanged letters and e-mails and as a

result of those discussions counsel for Dr. Shultz produced the handwritten

notes and invoices for his expert Dr. Rowbotham, but continues to refuse to

produce the same information (expert handwritten notes and expert

invoices) for his two other experts, Dr. Henry and Dr. Eisendrath.

         Counsel for Dr. Shultz has confirmed that both Dr. Eisendrath and Dr.

Henry possess handwritten notes made during their review and

consideration of the records and documents in this case and development

of their opinions. Of course, these experts also have invoices that they




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have submitted to Dr. Shultz for payment. Plaintiffs merely seek the

production of these documents.

         The discoverability of these documents and the legitimacy of these

requests is shown by the fact that Dr. Shultz produced these very

documents for one of his three experts in this case. Counsel for Dr. Shultz

has objected to producing the notes prepared by Dr. Henry and Dr.

Eisendrath because neither of those experts testified in their deposition that

they relied on those notes in preparing their expert report. The question

was simply not asked of them. Dr. Shultz’s objection begs the question.

There is no question that the notes were prepared incident to reviewing

documents and analyzing the case in order to prepare opinions for an

expert report. Accordingly, because these experts prepared these notes as

part of their expert witness work, by direct implication they have relied on

them; these experts would not have made the notes in the first instance if

the points weren’t important. Furthermore, these notes are discoverable

because they are a part of these experts’ files in this case. As such, they

are subject to discovery and potential cross-examination by Plaintiff’s

counsel.

         Dr. Shultz seems to argue that the notes are not discoverable

because they are not required to be produced or made a part of the experts



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written report as required by Rule 26(a)(2)(B), Fed. R. Civ. P. However,

the rule requiring an expert’s written report and detailing what must be

included in that report is not an exhaustive list of that which is discoverable

regarding an expert’s work in a particular case. Court’s have consistently

ruled that a discovering party is entitled to obtain draft reports and notes

made by the expert. Trigon Ins. Co. v. U.S., 204 F.R.D. 277, 282-283

(E.D.Va.2001); Krisa v. Equitable Life Assur. Soc’y, 196 F.R.D. 254, 257

(M.D.Pa.200). Expert notes are discoverable and they should be produced

here.

         Next, Dr. Shultz has not explained his objection to producing Dr.

Henry and Dr. Eisendrath’s invoices. He merely has refused to produce

them. Plaintiffs are entitled to obtain copies of these experts invoices for

the purposes, at the very least, to show bias. How much these experts

have billed, is legitimate inquiry of an expert. In Peschel v. City of Missoula,

9:08-CV-79, Judge Lynch agreed that payments to an expert provides a

financial incentive to testify and thus it is a legitimate inquiry in discovery of

the payments made to an expert to explore bias. Ex. A, Judge Lynch

10/15/09 Text Order. In Amster v. River Capital International Group, LLC,

2002 WL 2031614 (S.D. N. Y.) the court granted defendant’s motion to

compel production of plaintiff’s experts invoices and compensation. The



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court recognized the propriety of requiring an experts invoices to be

produced in discovery. Here, Dr. Shultz has no legitimate objection to

producing Dr. Henry and Dr. Eisendrath’s invoices given he already

produces Dr. Rowbotham’s invoices.

         Dr. Shultz previously produced Dr. Rowbotham’s handwritten notes

and invoices. So, too, should he be ordered to produce the same for Dr.

Henry and Dr. Eisendrath.

         Respectfully submitted this 1st day of February, 2010.


                                               PAOLI, LATINO & KUTZMAN, P.C.
                                               ATTORNEYS FOR PLAINTIFFS

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I herby certify that, on February 1st, 2010, a copy of the foregoing document
was served on the following persons by the following means:

  1-2      CM/ECF
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__        Mail
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          Fax
          E-Mail


              1. Clerk of Court

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